                                                                     Case 2:20-cv-02291-DOC-KES             Document 379 Filed 12/23/21   Page 1 of 32 Page ID
                                                                                                                 #:11214


                                                                           1   SPERTUS, LANDES & UMHOFER, LLP
                                                                               Matthew Donald Umhofer (SBN 206607)
                                                                           2   Elizabeth A. Mitchell (SBN 251139)
                                                                               617 W. 7th Street, Suite 200
                                                                           3   Los Angeles, California 90017
                                                                               Telephone: (213) 205-6520
                                                                           4   Facsimile: (213) 205-6521
                                                                               mumhofer@spertuslaw.com
                                                                           5   emitchell@spertuslaw.com
                                                                           6   Attorneys for Plaintiffs
                                                                           7
                                                                           8                              UNITED STATES DISTRICT COURT
                                                                           9                         CENTRAL DISTRICT OF CALIFORNIA
                                                                          10
                                                                          11
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                 LA ALLIANCE FOR HUMAN                      CASE NO. 2:20-CV-02291-DOC-KES
Spertus, Landes & Umhofer, LLP




                                                                                 RIGHTS, et al.,
                                                                          12
                                 1990 SOUTH BUNDY DR., SUITE 705




                                                                                                                            Assigned to Judge David O. Carter
                                     LOS ANGELES. CA 90025




                                                                          13                  Plaintiffs,
                                                                          14           v.                                   PLAINTIFFS’ OPPOSITION TO
                                                                                                                            DEFENDANT CITY OF LOS
                                                                          15                                                ANGELES’ MOTION TO DISMISS
                                                                                 CITY OF LOS ANGELES, et al.,               PLAINTIFFS’ AMENDED AND
                                                                          16                                                SUPPLEMENTAL COMPLAINT
                                                                          17                  Defendants.
                                                                                                                            FASC Filed:      November 1, 2021
                                                                          18                                                Complaint Filed: March 10, 2020
                                                                          19                                                Hearing:
                                                                                                                            Date:     January 24, 2022
                                                                          20                                                Time:     8:30 a.m.
                                                                                                                            Location: Courtroom 9D
                                                                          21                                                           411 West Fourth St.
                                                                                                                                       Santa Ana, CA 92701
                                                                          22
                                                                          23
                                                                          24
                                                                          25
                                                                          26
                                                                          27
                                                                          28


                                                                                  PLAINTIFFS’ OPPOSITION TO THE CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                     Case 2:20-cv-02291-DOC-KES                     Document 379 Filed 12/23/21                      Page 2 of 32 Page ID
                                                                                                                         #:11215


                                                                           1                                            TABLE OF CONTENTS
                                                                           2                                                                                                                 PAGE
                                                                           3   I.       INTRODUCTION ............................................................................................ 1
                                                                           4   II.      FACTUAL BACKGROUND AND PROCEDURAL HISTORY .................. 1
                                                                           5            A.      Procedural History ................................................................................. 1
                                                                           6   III.     LEGAL STANDARD ...................................................................................... 2
                                                                           7   IV.      PLAINTIFFS HAVE STANDING TO BRING THIS ACTION AGAINST
                                                                                        THE COUNTY AND THIS COURT HAS THE POWER TO ORDER
                                                                           8            THE RELIEF SOUGHT .................................................................................. 3
                                                                           9            A.      This Court Enjoys Broad Equitable Powers .......................................... 3
                                                                          10            B.      Plaintiffs Have Article III Standing to Bring This Case ........................ 5
                                                                          11
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                               V.       PLAINTIFFS HAVE ALLEGED SUFFICIENT FACTS TO SUPPORT
Spertus, Landes & Umhofer, LLP




                                                                                        THEIR CONSTITUTIONAL CLAIMS UNDER 42 U.S.C. § 1983............... 7
                                                                          12
                                 1990 SOUTH BUNDY DR., SUITE 705




                                                                                        A.      Substantive Due Process Claim ............................................................. 7
                                     LOS ANGELES. CA 90025




                                                                          13
                                                                                                1.       State Created Danger ................................................................... 7
                                                                          14
                                                                                                2.       Special Relationship Doctrine ................................................... 11
                                                                          15
                                                                                        B.      Procedural Due Process ....................................................................... 11
                                                                          16
                                                                                        C.      Equal Protection ................................................................................... 13
                                                                          17
                                                                                                1.       Geographic Discrimination........................................................ 13
                                                                          18
                                                                                                2.       Racial Discrimination ................................................................ 14
                                                                          19
                                                                                        D.      Municipal Liability............................................................................... 15
                                                                          20
                                                                               VI.      PLAINTIFFS HAVE ALLEGED SUFFFICIENT FACTS TO
                                                                          21            SUPPORT THEIR DISABILITY-RELATED CLAIMS .............................. 15
                                                                          22   VII. PLAINTIFFS HAVE ALLEGED SUFFICIENT FACTS TO
                                                                                    SUPPORT THEIR CLAIMS UNDER CALIFORNIA LAW ....................... 19
                                                                          23
                                                                                        A.      Cal. Civ. Code §§ 3490; 3501 .............................................................. 19
                                                                          24
                                                                                        B.      Negligence............................................................................................ 23
                                                                          25
                                                                                        C.      Taxpayer Waste Claim (CCP Section 526a) ........................................ 23
                                                                          26
                                                                                        D.      Statutory Immunity is Inapplicable to Claims for Equitable and
                                                                          27                    Injunctive Relief ................................................................................... 24
                                                                          28   VIII. CONCLUSION .............................................................................................. 25

                                                                                                                        ii
                                                                                      PLAINTIFFS’ OPPOSITION TO THE CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                     Case 2:20-cv-02291-DOC-KES                     Document 379 Filed 12/23/21                     Page 3 of 32 Page ID
                                                                                                                         #:11216


                                                                           1                                          TABLE OF AUTHORITIES
                                                                           2   CASES                                                                                                    PAGE(S)
                                                                           3   Ashcroft v. Iqbal,
                                                                                 556 U.S. 662 (2009)................................................................................................... 3
                                                                           4
                                                                               Benetatos v. City of Los Angeles,
                                                                           5     235 Cal. App. 4th 1270 (2015) ................................................................................ 21
                                                                           6   Birke v. Oakwood Worldwide,
                                                                                 169 Cal. App. 4th 1540 (2009) .......................................................................... 20, 22
                                                                           7
                                                                               Brown v. Plata,
                                                                           8     563 U.S. 493 (2011)................................................................................................... 4
                                                                           9   Cedar Point Nursery v. Hassid,
                                                                                 141 S. Ct. 2063 (2021) ....................................................................................... 12, 13
                                                                          10
                                                                               Chapman v. Pier 1 Imports (U.S.) Inc.,
                                                                          11
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                 631 F.3d 939 (9th Cir. 2011) ................................................................................... 16
Spertus, Landes & Umhofer, LLP




                                                                          12   Chiatello v. City & County of San Francisco,
                                 1990 SOUTH BUNDY DR., SUITE 705




                                                                                 189 Cal. App. 4th 472 (2010) .................................................................................. 24
                                     LOS ANGELES. CA 90025




                                                                          13
                                                                               City of Los Angeles v. Superior Court,
                                                                          14     194 Cal. App. 4th 210 (2011) .................................................................................. 13
                                                                          15   Cohen v. City of Culver City,
                                                                                 754 F.3d 690 (9th Cir. 2014) ....................................................................... 17, 18, 19
                                                                          16
                                                                               Crowder v. Kitagawa,
                                                                          17     81 F.3d 1480 (9th Cir. 1996) ............................................................................. 16, 17
                                                                          18   Department of Fish & Game v. Superior Court,
                                                                                 197 Cal. App. 4th 1323 ............................................................................................ 23
                                                                          19
                                                                               DeShaney v. Winnebago County Department of Social Services,
                                                                          20     489 U.S. 189 (1989)................................................................................................. 11
                                                                          21   Fry v. Napoleon Community Schools,
                                                                                 137 S. Ct. 743 (2017) ............................................................................................... 16
                                                                          22
                                                                               Gomillion v. Lightfoot,
                                                                          23     364 U.S. 339 (1960)................................................................................................. 14
                                                                          24   Harnett v. Sacramento County,
                                                                                 195 Cal. 676 (1925) ................................................................................................. 24
                                                                          25
                                                                               Harris v. Board of Supervisors,
                                                                          26     366 F.3d 754 (9th Cir. 2004) ..................................................................................... 4
                                                                          27   Hason v. Medical Board of California,
                                                                                 279 F.3d 1167 (9th Cir. 2002) ................................................................................. 19
                                                                          28
                                                                                                                     iii
                                                                                   PLAINTIFFS’ OPPOSITION TO THE CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                     Case 2:20-cv-02291-DOC-KES                     Document 379 Filed 12/23/21                     Page 4 of 32 Page ID
                                                                                                                         #:11217


                                                                           1   Hernandez v. City of San Jose,
                                                                                 897 F.3d 1125 (9th Cir. 2018) ................................................................................... 8
                                                                           2
                                                                               Huezo v. Los Angeles Community College District,
                                                                           3     672 F. Supp. 2d 1045 (C.D. Cal. 2008) ..................................................................... 4
                                                                           4   Johnson v. Riverside Healthcare System, LP,
                                                                                 534 F.3d 1116 (9th Cir. 2008) ................................................................................... 3
                                                                           5
                                                                               Kennedy v. City of Ridgefield,
                                                                           6     439 F.3d 1055 (9th Cir. 2006) ................................................................................... 8
                                                                           7   Kentuck Department of Corrections v. Thompson,
                                                                                 490 U.S. 454 (1989)................................................................................................. 11
                                                                           8
                                                                               LA Alliance for Human Rights v. County of Los Angeles,
                                                                           9     14 F.4th 947 (9th Cir. 2021) ...................................................................................... 4
                                                                          10   Lonberg v. City of Riverside,
                                                                                 300 F. Supp. 2d 942 (C.D. Cal. 2004) ..................................................................... 15
                                                                          11
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                               Los Altos Property Owners Ass’n v. Hutcheon,
                                                                          12     69 Cal. App. 3d 22 (1977) ....................................................................................... 24
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   Lujan v. Defenders of Wildlife,
                                                                                 504 U.S. 555 (1992)................................................................................................... 5
                                                                          14
                                                                               McNutt v. General Motors Acceptance Corp. of Indiana, Inc.,
                                                                          15    298 U.S. 178 (1936)................................................................................................... 3
                                                                          16   Montoya v. City of San Diego,
                                                                                Case No. 19-CV-0054,
                                                                          17    2021 WL 1056594 (S.D. Cal. Mar 19, 2021) .................................................... 17, 18
                                                                          18   Morales v. City of Los Angeles,
                                                                                214 F.3d 1151 (9th Cir. 2000) ................................................................................... 3
                                                                          19
                                                                               Northstar Financial Advisors Inc. v. Schwab Investments,
                                                                          20     779 F.3d 1036 (9th Cir. 2015) ................................................................................... 7
                                                                          21   Ocean Advocates v. U.S. Army Corps of Engineers,
                                                                                 402 F.3d 846 (9th Cir. 2005) ..................................................................................... 5
                                                                          22
                                                                               Pauluk v. Savage,
                                                                          23     836 F.3d 1117 (9th Cir. 2016) ................................................................................... 8
                                                                          24   People v. ConAgra Grocery Products Co.,
                                                                                 17 Cal. App. 5th 51 (2017) ...................................................................................... 20
                                                                          25
                                                                               Rodde v. Bonta,
                                                                          26     357 F.3d 988 (9th Cir. 2004) ..................................................................................... 4
                                                                          27   Rogers v. Lodge,
                                                                                 458 U.S. 613 (1982)................................................................................................. 14
                                                                          28
                                                                                                                     iv
                                                                                   PLAINTIFFS’ OPPOSITION TO THE CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                     Case 2:20-cv-02291-DOC-KES                      Document 379 Filed 12/23/21                     Page 5 of 32 Page ID
                                                                                                                          #:11218


                                                                           1   Rosales v. County of San Diego,
                                                                                 511 F. Supp. 3d 1070 (S.D. Cal. Jan. 5, 2021) ........................................................ 15
                                                                           2
                                                                               San Diego Gas & Electric Co. v. Superior Ct.,
                                                                           3     13 Cal. 4th 893 (1996) ............................................................................................. 20
                                                                           4   Santa Cruz Homeless v. Bernal,
                                                                                 514 F. Supp. 3d 1136 (N.D. Cal. Jan. 20, 2021), order modified,
                                                                           5     Case No. 20-cv-09425,
                                                                                 2021 WL 1256888 (N.D. Cal. Apr. 1, 2021) ............................................................. 8
                                                                           6
                                                                               Sausalito/Marin County Chapter of the California Homeless Union v. City of
                                                                           7     Sausalito,
                                                                                 522 F. Supp. 3d 648 (N.D. Cal. Mar. 1, 2021), modified in part,
                                                                           8     Case No. 21-cv-01143,
                                                                                 2021 WL 2141323 (N.D. Cal. May 26, 2021)........................................................... 9
                                                                           9
                                                                               Schneider v. State,
                                                                          10     308 U.S. 147 (1939)........................................................................................... 21, 22
                                                                          11
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                               Schooler v. State,
Spertus, Landes & Umhofer, LLP




                                                                                 85 Cal. App. 4th 1004 (2000) .................................................................................. 25
                                                                          12
                                 1990 SOUTH BUNDY DR., SUITE 705




                                                                               Silvas v. E*Trade Mortgage Corp.,
                                     LOS ANGELES. CA 90025




                                                                          13      514 F.3d 1001 (9th Cir. 2008) ................................................................................... 3
                                                                          14   Smith v. Corp. of Washington,
                                                                                 61 U.S. (20 How.) 135 (1858) ................................................................................. 21
                                                                          15
                                                                               Solid Waste Agency of North Cook County v. U.S. Army Corps of Engineers,
                                                                          16     101 F.3d 503 (7th Cir. 1996) ................................................................................... 20
                                                                          17   Starr v. Baca,
                                                                                 652 F.3d 1202 (9th Cir. 2011) ................................................................................. 15
                                                                          18
                                                                               Swann v. Charlotte-Mecklenburg Board of Education,
                                                                          19     402 U.S. 1 (1971)....................................................................................................... 4
                                                                          20   Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
                                                                                 551 U.S. 308 (2007)................................................................................................... 3
                                                                          21
                                                                               Tyler v. Cuomo,
                                                                          22     236 F.3d 1124 (9th Cir. 2000) ................................................................................... 5
                                                                          23   United States v. James Daniel Good Real Property,
                                                                                 510 U.S. 43 (1993)................................................................................................... 11
                                                                          24
                                                                               Vanderhurst v. Tholcke,
                                                                          25     113 Cal. 147 (1896) ................................................................................................. 21
                                                                          26   Whisnant v. United States,
                                                                                400 F.3d 1177 (9th Cir. 2009) ................................................................................... 3
                                                                          27
                                                                               Willits v. City of Los Angeles,
                                                                          28     925 F. Supp. 2d 1089 (C. D. Cal. 2013) ............................................................ 16, 18
                                                                                                                     v
                                                                                   PLAINTIFFS’ OPPOSITION TO THE CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                     Case 2:20-cv-02291-DOC-KES                       Document 379 Filed 12/23/21                      Page 6 of 32 Page ID
                                                                                                                           #:11219


                                                                           1   Wood v. Ostrander,
                                                                                879 F.2d 583 (9th Cir. 1989) ..................................................................................... 8
                                                                           2
                                                                               Yick v. Hopkins,
                                                                           3     118 U.S. 356 (1886)................................................................................................. 14
                                                                           4   STATUTES
                                                                           5   42 U.S.C. § 1983 ........................................................................................................ii, 7
                                                                           6   42 U.S.C. § 12182(a) ................................................................................................... 16
                                                                           7   California Civil Code § 54(c) ...................................................................................... 15
                                                                           8   California Civil Code § 54.3 ........................................................................................ 15
                                                                           9   California Civil Code § 3479 ....................................................................................... 20
                                                                          10   California Civil Code § 3490 ....................................................................................... 19
                                                                          11
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                               California Civil Code § 3501 ....................................................................................... 19
Spertus, Landes & Umhofer, LLP




                                                                          12   California Government Code § 815.2(a) ..................................................................... 23
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   California Code of Civil Procedure § 526a ........................................................... 23, 24
                                                                          14   California Government Code § 814....................................................................... 24, 25
                                                                          15   California Government Code § 815.2.......................................................................... 24
                                                                          16   California Government Code § 818.2.......................................................................... 24
                                                                          17   California Government Code § 820.2.......................................................................... 24
                                                                          18   California Welfare & Institutions Code § 17000....................................................... 2, 4
                                                                          19   RULES
                                                                          20   Federal Rule of Civil Procedure 15(d)........................................................................... 7
                                                                          21   Federal Rule of Civil Procedure 12(b)(1) ...................................................................... 2
                                                                          22   Federal Rule of Civil Procedure 12(b)(6) ...................................................................... 3
                                                                          23   REGULATIONS
                                                                          24   28 C.F.R. § 35.130(b)(7) (2016) .................................................................................. 16
                                                                          25   28 C.F.R. § 35.150 ....................................................................................................... 18
                                                                          26   28 C.F.R. § 35.151 ....................................................................................................... 18
                                                                          27   28 C.F.R. § 35.151(b) .................................................................................................. 18
                                                                          28   36 C.F.R. § 1191, app. D, § 403.5.1 (2014) ................................................................ 16
                                                                                                                     vi
                                                                                   PLAINTIFFS’ OPPOSITION TO THE CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                     Case 2:20-cv-02291-DOC-KES                 Document 379 Filed 12/23/21               Page 7 of 32 Page ID
                                                                                                                     #:11220


                                                                           1   OTHER AUTHORITIES
                                                                           2   Judicial Council of California, Civil Jury Instructions, CACI No. 2020 (2008) ........ 20
                                                                           3   Judicial Council of California, Civil Jury Instructions, CACI No. 2021 (2011) ........ 23
                                                                           4   Restatement (Second) of Torts § 821C (1979) ............................................................ 22
                                                                           5   Restatement (Second) of Torts § 838 (1979)............................................................... 21
                                                                           6
                                                                           7
                                                                           8
                                                                           9
                                                                          10
                                                                          11
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13
                                                                          14
                                                                          15
                                                                          16
                                                                          17
                                                                          18
                                                                          19
                                                                          20
                                                                          21
                                                                          22
                                                                          23
                                                                          24
                                                                          25
                                                                          26
                                                                          27
                                                                          28
                                                                                                                     vii
                                                                                   PLAINTIFFS’ OPPOSITION TO THE CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                     Case 2:20-cv-02291-DOC-KES              Document 379 Filed 12/23/21        Page 8 of 32 Page ID
                                                                                                                  #:11221


                                                                           1                    MEMORANDUM OF POINTS AND AUTHORITIES
                                                                           2   I.        INTRODUCTION
                                                                           3             Largely because of this lawsuit and the Court’s focus on these issues, the City
                                                                           4   has made some progress in the last 21 months bringing a modest number of new
                                                                           5   shelter beds online. Still, the City has no comprehensive plan to address
                                                                           6   homelessness, even as more people perish and encampments proliferate.
                                                                           7             The City and County squabble over audits while increasing numbers of
                                                                           8   unsheltered individuals suffer from crime, fires, violence, mental illness, and drug
                                                                           9   overdoses. Residents of this city—both housed and unhoused—are desperate for
                                                                          10   relief.
                                                                          11             Instead of marshalling its resources to solve the crisis, the City of Los Angeles
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   seeks dismissal of this well-founded suit. But the City’s actions and omissions have
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   directly led to the catastrophe on the streets, and the City must be held accountable
                                                                          14   therefor. Plaintiffs have alleged sufficient facts to support its causes of action, and
                                                                          15   the motion should be denied.
                                                                          16   II.       FACTUAL BACKGROUND AND PROCEDURAL HISTORY
                                                                          17             A.    Procedural History
                                                                          18             Plaintiffs are a broad coalition of diverse interests—residents (housed and
                                                                          19   unhoused), community members, small business owners, non-profits, and service
                                                                          20   providers—all of whom are fed up with the utter failure of the City and County to
                                                                          21   address the homelessness crisis. Plaintiffs filed this case at the start of the pandemic,
                                                                          22   on March 10, 2020. Nine days later, all parties agreed to stay litigation to explore
                                                                          23   settlement intended to urgently resolve the homelessness crisis for the benefit of all
                                                                          24   parties and the Los Angeles community as a whole. Less than three months later, the
                                                                          25   City and County officially voted to enter into global settlement negotiations. The
                                                                          26   City and County, despite many differences, and as a result of an injunction by this
                                                                          27   Court, agreed to produce 5,300 new beds to serve persons experiencing homelessness
                                                                          28
                                                                                                                     1
                                                                                     PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                     Case 2:20-cv-02291-DOC-KES           Document 379 Filed 12/23/21       Page 9 of 32 Page ID
                                                                                                               #:11222


                                                                           1   within nine months, and another 1,400 beds with other conditions. Significant
                                                                           2   progress was made.
                                                                           3          The County chose not to engage and settlement discussions went nowhere.
                                                                           4   The County filed a motion to dismiss the first complaint on March 29, 2021, and
                                                                           5   Plaintiffs filed a motion for preliminary injunction on April 12, 2021. On April 20,
                                                                           6   2021, this Court granted Plaintiffs’ motion and issued an injunction against the City
                                                                           7   and County finding Plaintiffs were likely to succeed on theories of Equal Protection,
                                                                           8   State-Created Danger, Special Relationship, Substantive Due Process, violation of the
                                                                           9   County’s duty under Welfare and Institutions Code section 17000, and the Americans
                                                                          10   with Disabilities Act. The City and County immediately appealed. On May 11,
                                                                          11   2021, this Court denied the County’s motion to dismiss the first complaint. On
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   September 25, 2021, the ninth circuit vacated this Court’s order largely on standing
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   grounds. Plaintiffs filed their amended and supplemental complaint after the Ninth
                                                                          14   Circuit vacated this Court’s April 20, 2021 preliminary injunction. Specifically the
                                                                          15   Ninth Circuit noted a delta between the Court’s order and Plaintiffs’ allegations and
                                                                          16   facts: Plaintiffs had not demonstrated evidence that Plaintiffs and members of the
                                                                          17   Alliance are Black because Plaintiffs had not moved on any issues that were based on
                                                                          18   race, had no unsheltered homeless individuals named in the original complaint, had
                                                                          19   not alleged existence of a Special Relationship or shown they are confined to Skid
                                                                          20   Row, or were deprived of medically necessary care. Plaintiffs have amended and
                                                                          21   supplemented their complaint to add Wenzial Jarrell, an unsheltered Black man living
                                                                          22   in Skid Row, as a Plaintiff, and added a number of named Alliance members who are
                                                                          23   also unsheltered and persons of color. Plaintiffs have supplemented their Equal
                                                                          24   Protection, Due Process allegations and 17000 claims to address the Ninth Circuit’s
                                                                          25   concerns.
                                                                          26   III.   LEGAL STANDARD
                                                                          27          To prevail on a motion brought under Federal Rule of Civil Procedure
                                                                          28   12(b)(1), Plaintiffs need only demonstrate that they meet the jurisdictional
                                                                                                                      2
                                                                                      PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21        Page 10 of 32 Page
                                                                                                                ID #:11223


                                                                           1   requirements to be before this Court through competent allegations. McNutt v. Gen.
                                                                           2   Motors Acceptance Corp. of Ind., Inc., 298 U.S. 178, 189 (1936). When considering
                                                                           3   a facial attack on subject matter jurisdiction under 12(b)(1), this Court should
                                                                           4   consider all factual allegations in the complaint as true and draw all reasonable
                                                                           5   inferences in the plaintiff’s favor. Whisnant v. United States, 400 F.3d 1177, 1179
                                                                           6   (9th Cir. 2009) (relying on factual allegations in complaint where 12(b)(1) motion to
                                                                           7   dismiss challenged legal question).
                                                                           8         Similarly, when a motion to dismiss is brought under Federal Rule of Civil
                                                                           9   Procedure 12(b)(6), complaints need only contain sufficient factual matter to state a
                                                                          10   claim that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “This
                                                                          11   is not an onerous burden.” Johnson v. Riverside Healthcare Sys., LP, 534 F.3d 1116,
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   1122 (9th Cir. 2008). The Court “must consider the complaint in its entirety,”
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007), accept as true
                                                                          14   “[a]ll allegations of material fact . . . in the light most favorable to the nonmoving
                                                                          15   party[,]” Silvas v. E*Trade Mortg. Corp., 514 F.3d 1001, 1003 (9th Cir. 2008), and
                                                                          16   “draw all reasonable inferences in favor of the non-moving party.” Morales v. City of
                                                                          17   Los Angeles, 214 F.3d 1151, 1153 (9th Cir. 2000). Indeed, “[a] complaint must not
                                                                          18   be dismissed unless it appears beyond doubt that the plaintiff can prove no set of
                                                                          19   facts in support of the claim that would entitle the plaintiff to relief.” Silvas, 514
                                                                          20   F.3d at 1003-04.
                                                                          21   IV.   PLAINTIFFS HAVE STANDING TO BRING THIS ACTION AGAINST
                                                                          22         THE COUNTY AND THIS COURT HAS THE POWER TO ORDER THE
                                                                          23         RELIEF SOUGHT
                                                                          24         A.     This Court Enjoys Broad Equitable Powers
                                                                          25         As this Court has already recognized, and the Ninth Circuit has confirmed,
                                                                          26   district courts have broad power to order equitable relief when a constitutional or
                                                                          27   statutory right has been violated. (See Order Den. County’s Mot. to Dismiss (“Order
                                                                          28   re County MTD”) at 5, ECF No. 300 (“[I]f the Court finds an ongoing constitutional
                                                                                                                     3
                                                                                     PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES       Document 379 Filed 12/23/21        Page 11 of 32 Page
                                                                                                               ID #:11224


                                                                           1   violation, it is obligated to impose a remedy. Budgetary and capacity concerns can be
                                                                           2   adequately addressed by the Court by giving the party sufficient discretion in how to
                                                                           3   remedy the violation.”)); see also LA All. for Human Rights v. County of Los Angeles,
                                                                           4   14 F.4th 947, 961 (9th Cir. 2021) (“The district court undoubtedly has broad
                                                                           5   equitable power to remedy legal violations that have contributed to the complex
                                                                           6   problem of homelessness in Los Angeles.”).
                                                                           7         “[T]he law and the Constitution demand recognition of certain [] rights. . . . If
                                                                           8   government fails to fulfill [its] obligation, the courts have a responsibility to remedy
                                                                           9   the resulting [] violation.” Brown v. Plata, 563 U.S. 493, 511 (2011) (“Plata”); (see
                                                                          10   also Pls.’ Resp. to Ct. Req. for Br’g. at 13-19, ECF No. 239, incorporated herein by
                                                                          11   reference.) The City argues, incorrectly, that this Court lacks the authority to issue
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   the injunctive relief requested by Plaintiffs. (City Motion to Dismiss (“City MTD”) at
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   6-7, ECF No. 369-1); cf. Swann v. Charlotte-Mecklenburg Bd. of Educ., 402 U.S. 1,
                                                                          14   15 (1971)(when considering the affirmative acts of a government body “[o]nce a
                                                                          15   right and a violation have been shown, the scope of a district court’s equitable powers
                                                                          16   to remedy past wrongs is broad, for breadth and flexibility are inherent in equitable
                                                                          17   remedies”).
                                                                          18         This Court also possesses the power to enjoin the City to prevent current or
                                                                          19   imminent statutory violations. See, e.g., Rodde v. Bonta, 357 F.3d 988, 999 (9th Cir.
                                                                          20   2004); Harris v. Bd. of Supervisors, 366 F.3d 754, 759 (9th Cir. 2004); Huezo v. L.A.
                                                                          21   Cmty. Coll. Dist., 672 F. Supp. 2d 1045, 1054 (C.D. Cal. 2008). In Rodde, Los
                                                                          22   Angeles County was considering closing a hospital which provided services to
                                                                          23   plaintiffs and other special needs patients receiving care through Medi-Cal. Id. at
                                                                          24   990. The district court found that the county would be unable to fill its statutory
                                                                          25   obligations under Welfare and Institutions Code section 17000 if it closed the
                                                                          26   hospital, which would have led to significant harm to the plaintiffs. Id. at 993-94.
                                                                          27   The district court imposed—and the court of appeals upheld—an injunction
                                                                          28
                                                                                                                    4
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21          Page 12 of 32 Page
                                                                                                                ID #:11225


                                                                           1   obligating the county to keep the hospital open which required it to spend upwards of
                                                                           2   $50 million per year to provide services. Id. at 999-1000.
                                                                           3         Here Plaintiffs do not seek to have this Court “dictate the precise way the City
                                                                           4   should address homelessness,” (City MTD at 7) but seek injunctive relief tailored to
                                                                           5   the tragic problem at issue: death and disarray on the streets of Los Angeles resulting
                                                                           6   from the City and County’s failed policies and practices and billions of dollars in
                                                                           7   wasted funds.
                                                                           8         B.     Plaintiffs Have Article III Standing to Bring This Case
                                                                           9         Plaintiffs possess Article III standing because they each have alleged that they
                                                                          10   (1) suffered an “injury in fact” which is (2) “fairly traceable” to actions by the City,
                                                                          11   and (3) it is “likely” that the injury will be redressed by a favorable decision by this
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   Court. See Tyler v. Cuomo, 236 F.3d 1124, 1131-32 (9th Cir. 2000) (citing Lujan v.
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)).
                                                                          14         An injury is “fairly traceable” to a defendant’s conduct when a causal
                                                                          15   connection is shown between the injury alleged and the conduct of the defendant.
                                                                          16   Tyler, 236 F.3d at 1132. In Tyler, the court found that a group of Plaintiffs suing the
                                                                          17   City of San Francisco alleged conduct that was “fairly traceable” to the City because
                                                                          18   the City refused to hold meetings to hear the complaints of the homeowners, despite
                                                                          19   possibility that the meetings would lead to no substantive change. Id. (reasoning that
                                                                          20   the action was sufficient as it was not “the result of the independent action of some
                                                                          21   third party not before the court.”). Importantly, at early stages of litigation, the
                                                                          22   traceability requirement of standing is a low bar to clear—as one court put it, “the
                                                                          23   causal connection . . . need not be so airtight at this stage of litigation as to
                                                                          24   demonstrate that the plaintiffs would succeed on the merits.” Ocean Advocates v.
                                                                          25   U.S. Army Corps of Eng’rs, 402 F.3d 846, 860 (9th Cir. 2005) (citation omitted)
                                                                          26   (affirming denial of summary judgment on standing grounds, while noting that while
                                                                          27   other factors may impact a plaintiff’s harm, the injury may still be sufficiently
                                                                          28   traceable). Here, at the early stages of this litigation, and indeed before this litigation
                                                                                                                     5
                                                                                     PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21        Page 13 of 32 Page
                                                                                                                ID #:11226


                                                                           1   has even begun in earnest, Plaintiffs’ allegations clear this low bar. Plaintiffs allege
                                                                           2   that the City, by and through its officials and employees:
                                                                           3          - For decades has instituted an explicit and implicit policy of “Containment”
                                                                           4             which relocates unhoused individuals to the Skid Row area and then seeks
                                                                           5             to keep them there where they and others are deluged with crime, violence,
                                                                           6             fire risk, and unsanitary conditions (FASC ¶¶ 30-45, ECF No. 361);
                                                                           7          - Has focused nearly exclusively on building permanent supportive housing,
                                                                           8             contrary to the voters’ direction, which helps too few, is too expensive, and
                                                                           9             takes too long to ever make a meaningful dent in this crisis. Meanwhile
                                                                          10             more die and decay in the streets while developers get wealthy (FASC ¶¶ 5,
                                                                          11             17, 72-81; 85-93);
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12          - Fails to balance its obligations to the unhoused and housed individuals by
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13             allowing tremendous amounts of refuse, rotten food, human waste, and
                                                                          14             personal property to occupy sidewalks, streets, and parks otherwise meant
                                                                          15             for public use, resulting in deplorable conditions for the entire community
                                                                          16             and blocked sidewalks for the disabled (FASC ¶¶ 57-66);
                                                                          17          - Permits rampant drug use and sales, violent crime, and fire risk on its
                                                                          18             property which puts other property owners and unhoused residents both at
                                                                          19             risk (FASC ¶¶ 46-51);
                                                                          20          - Has failed for years to meet its state-required housing goals, resulting in
                                                                          21             skyrocketing prices and more people without basic shelter (FASC ¶ 44);
                                                                          22          - With a history of racist policies, directly leading to the discrimination of
                                                                          23             Black people and the prevention of Black family wealth accumulation,
                                                                          24             continuing to maintain policies knowing said policies and procedures
                                                                          25             would have a discriminatory effect and lead to the disproportionate
                                                                          26             representation of Black people experiencing homelessness (FASC ¶ 43);
                                                                          27             and
                                                                          28
                                                                                                                    6
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES         Document 379 Filed 12/23/21         Page 14 of 32 Page
                                                                                                                 ID #:11227


                                                                           1          - Tragically wasting funds that could and should go to resolving this crisis.
                                                                           2               (FASC ¶¶ 72-81; 85-92.)
                                                                           3          The City is mistaken in its contention that Morongo Band of Mission Indians v.
                                                                           4   California State Bd. of Equalization mandates that the original complaint must be
                                                                           5   evaluated to support standing, because Morongo does not apply to supplemental
                                                                           6   pleadings. Northstar Fin. Advisors Inc. v. Schwab Invs., 779 F.3d 1036, 1044 (9th
                                                                           7   Cir. 2015) (“[P]arties may cure standing deficiencies through supplemental
                                                                           8   pleadings.”) (citation omitted). Northstar specifically distinguishes Morongo:
                                                                           9           While Morongo does contain the broad statement that “subject
                                                                                       matter jurisdiction must exist as of the time the action is
                                                                          10           commenced” and that a lack of subject-matter jurisdiction at the
                                                                                       outset cannot be cured subsequently, it is now clear, if it was not
                                                                          11
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                       then, that this rule is more nuanced than the inflexibility suggested
Spertus, Landes & Umhofer, LLP




                                                                                       by its language—both as it relates to curing jurisdictional defects
                                                                          12           through supplemental pleadings [ ] and other circumstances in which
                                 1990 SOUTH BUNDY DR., SUITE 705




                                                                                       defects in subject-matter jurisdiction were cured by the substitution,
                                     LOS ANGELES. CA 90025




                                                                          13           addition, or elimination of a party. . . . [T]he rule as stated in
                                                                                       Morongo does not extend to supplemental pleadings filed pursuant
                                                                          14           to Fed.R.Civ.P. 15(d).”
                                                                          15   Id. at 1046 (citations omitted). The rationale behind permitting supplemental
                                                                          16   pleadings to correct a defective complaint is to “circumvent[] ‘the needless
                                                                          17   formality and expense of instituting a new action when events occurring
                                                                          18   after the original filing indicated a right to relief.’” Id. at 1044 (citations
                                                                          19   omitted). There is no sense in dismissing this action simply to force the
                                                                          20   Plaintiffs to file a new action with the same allegations.
                                                                          21   V.     PLAINTIFFS HAVE ALLEGED SUFFICIENT FACTS TO SUPPORT
                                                                          22          THEIR CONSTITUTIONAL CLAIMS UNDER 42 U.S.C. § 1983
                                                                          23          A.     Substantive Due Process Claim
                                                                          24                 1.     State Created Danger
                                                                          25          Plaintiffs have properly alleged Defendant City has placed its homeless and
                                                                          26   housed constituents in danger by adopting and maintaining policies and laws,
                                                                          27   including (i) corralling and containing unhoused people in an area without sufficient
                                                                          28   shelter, support, sanitation, or police assistance resulting in massively unhealthy and
                                                                                                                     7
                                                                                     PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES       Document 379 Filed 12/23/21         Page 15 of 32 Page
                                                                                                               ID #:11228


                                                                           1   dangerous conditions (FASC ¶¶ 30-40), (ii) a long history of implementing and
                                                                           2   repeating racist policies and practices (FASC ¶¶ 41-45), and (iii) misusing voter-
                                                                           3   approved funds to focus exclusively on a solution which is no solution at all (FASC
                                                                           4   ¶¶ 72-92) all of which /has caused or exacerbated homelessness, and continues to do
                                                                           5   so, and have done so with deliberate indifference to the health and safety of its
                                                                           6   constituents. (FASC ¶ 217.)
                                                                           7         The Ninth Circuit has recognized the constitutional right, under the Due
                                                                           8   Process clause, to be free from state-created danger. Kennedy v. City of Ridgefield,
                                                                           9   439 F.3d 1055, 1061-62 (9th Cir. 2006). When a state or local official acts to place a
                                                                          10   person in a situation of known danger, with deliberate ignorance towards their person
                                                                          11   or physical safety, the state violates due process. Id.; see also Hernandez v. City of
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   San Jose, 897 F.3d 1125, 1137 (9th Cir. 2018) (police officers affirmatively placed
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   political rally attendees in danger by requiring attendees to exit the rally into a crowd
                                                                          14   of known violent protestors); Kennedy, 439 F.3d at 1067 (officer knew an aggressor
                                                                          15   was violent and told aggressor of the victim’s allegations against him after promising
                                                                          16   the victim to alert her before doing so); Wood v. Ostrander, 879 F.2d 583, 590 (9th
                                                                          17   Cir. 1989) (officer arrested and impounded the car of an intoxicated driver, leaving
                                                                          18   the passenger alone in the middle of the night in a high crime area where she was
                                                                          19   later assaulted while trying to get home); Pauluk v. Savage, 836 F.3d 1117, 1122 (9th
                                                                          20   Cir. 2016) (“[S]tate actor can be held liable when that state actor did ‘play a part’ in
                                                                          21   the creation of a danger.”) (citation omitted).
                                                                          22         Courts have recently recognized that a municipality’s policy that places
                                                                          23   homeless individuals in danger can violate due process and merit injunctive relief. In
                                                                          24   Santa Cruz Homeless v. Bernal, the court took judicial notice of the COVID-19
                                                                          25   pandemic and granted homeless plaintiffs’ preliminary injunction to halt the closure
                                                                          26   of two parks where the plaintiffs were camping. 514 F. Supp. 3d 1136, 1138 (N.D.
                                                                          27   Cal. Jan. 20, 2021), order modified, Case No. 20-cv-09425, 2021 WL 1256888 (N.D.
                                                                          28   Cal. Apr. 1, 2021). The court held that by closing the parks without an alternate
                                                                                                                    8
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21         Page 16 of 32 Page
                                                                                                                ID #:11229


                                                                           1   shelter, the State would place residents in a more vulnerable situation and in greater
                                                                           2   danger. Santa Cruz Homeless Union, 514 F. Supp. 3d at 1142. Similarly, in
                                                                           3   Sausalito/Marin County Chapter of the California Homeless Union v. City of
                                                                           4   Sausalito, 522 F. Supp. 3d 648, 650-51 (N.D. Cal. Mar. 1, 2021), modified in part,
                                                                           5   Case No. 21-cv-01143, 2021 WL 2141323 (N.D. Cal. May 26, 2021), a court
                                                                           6   enjoined a City Counsel from enforcing resolutions to move a camping population to
                                                                           7   a different location, and from prohibiting all day camping, again due to the risks
                                                                           8   associated with the COVID-19 virus. The court held that those actions would increase
                                                                           9   rather than decrease health risks to campers and the surrounding community and
                                                                          10   place the homeless population in imminent danger. Sausalito/Marin Cnty., 522 F.
                                                                          11   Supp. 3d at 659-60. Here the facts are much more compelling because Defendants’
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   policies have already created incredible danger for those living on the streets. (FASC
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   ¶¶ 46-56.) Defendant City provides two arguments why Plaintiffs’ state-created
                                                                          14   danger claim should be dismissed, neither of which hold water.
                                                                          15         First, Defendant City argues that the Containment Policy was denounced in
                                                                          16   2016 and that the DTLA2040 plan is only a recommendation and not official policy
                                                                          17   (yet), therefore there is no current containment plan on which to base such a claim.
                                                                          18   (City MTD at 12.) But Defendants ignore the allegations (which must be accepted as
                                                                          19   true at this stage) that regardless of official denunciation of the Policy, it unofficially
                                                                          20   continues today through a concentration of housing and services only available in
                                                                          21   Skid Row (as evidenced by, inter alia, the DTLA2040 plan recommendation),
                                                                          22   consistent encouragement and often requirement of relocation to the Skid Row area,
                                                                          23   and discouragement of leaving. (FASC ¶¶ 31-40.) And by engaging in this conduct
                                                                          24   without providing sufficient services such as sanitation, police, and fire prevention,
                                                                          25   the City and County together have created a clear and present danger to which they
                                                                          26   are deliberately indifferent. (FASC ¶¶ 46-61.)
                                                                          27         Second, the City argues that its decision to dedicate nearly all Proposition HHH
                                                                          28   funds to permanent supportive housing (PSH) cannot be considered a state-created
                                                                                                                     9
                                                                                     PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES         Document 379 Filed 12/23/21        Page 17 of 32 Page
                                                                                                                 ID #:11230


                                                                           1   danger because it is better than not doing anything at all. (City MTD at 13.) But the
                                                                           2   City uses the wrong standard. The voters passed Proposition HHH, which gave the
                                                                           3   City an independent revenue stream (i.e. not general fund money) and a clear
                                                                           4   directive on how to the use the funds.1 So the relevant query is not whether the City
                                                                           5   has put Plaintiffs in a worse position by focusing exclusively on PSH rather than
                                                                           6   doing nothing because the City has the money regardless: the decision to do nothing
                                                                           7   was not possible. Instead, the relevant query is whether the City has put Plaintiffs in
                                                                           8   a worse position by using the money to focus exclusively on PSH instead of the
                                                                           9   balanced approach the voters approved. And Plaintiffs have properly alleged facts
                                                                          10   supporting that the City has, in fact, put Plaintiffs in a worse position as a result of
                                                                          11   that choice. (FASC ¶ 217 (“The City and County created a further danger by
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   focusing nearly exclusively on s0-called permanent housing options without
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   balancing interim and emergency needs, which could not ever meet the ostensible
                                                                          14
                                                                          15
                                                                          16         1
                                                                                         The Proposition HHH ballot asked the following question:
                                                                          17             To provide safe, clean affordable housing for the homeless and for
                                                                                         those in danger of becoming homeless, such as battered women and
                                                                          18             their children, veterans, seniors, foster youth, and the disabled; and
                                                                                         provide facilities to increase access to mental health care, drug and
                                                                          19             alcohol treatment, and other services; shall the City of Los Angeles
                                                                                         issue $1,200,000,000 in general obligation bonds, with citizen
                                                                          20             oversight and annual financial audits?
                                                                          21   Included in the ballot was the following summary of the proposal:
                                                                          22             The City would issue up to $1,200,000,000 in general obligation
                                                                                         bonds to buy, build, or remodel facilities to provide
                                                                          23             • Supportive housing for homeless individuals and families
                                                                                             where services such as health care, mental health and substance
                                                                          24                 abuse treatment, education, and job training may be provided
                                                                                         • Temporary shelters and facilities, such as storage and showers;
                                                                          25             • Affordable housing (up to 20% of bond funds), including
                                                                                             veterans housing for individuals and families with low incomes;
                                                                          26                 and
                                                                                         • Related infrastructure.
                                                                          27
                                                                               https://ballotpedia.org/Los_Angeles,_California,_Homelessness_Reduction_and_Pre
                                                                          28   vention_Housing,_and_Facilities_Bond_Issue,_Measure_HHH_(November_2016);
                                                                               http://clkrep.lacity.org/election/final%20homelessness%20hhh%20for%20web.pdf.
                                                                                                                    10
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES       Document 379 Filed 12/23/21        Page 18 of 32 Page
                                                                                                               ID #:11231


                                                                           1   goal, and caused more people to remain unsheltered exacerbatingor causing
                                                                           2   significant mental and physical decline at such a rate).
                                                                           3                 2.    Special Relationship Doctrine
                                                                           4          Plaintiffs have properly alleged the City’s explicit and implicit Containment
                                                                           5   Policy compels unhoused individuals into a controlled and restricted area—one it
                                                                           6   knows to be life-threatening—and fails to provide for their protection. DeShaney v.
                                                                           7   Winnebago Cnty. Dep’t of Soc. Servs., 489 U.S. 189, 200 (1989) (“[I]t is the State's
                                                                           8   affirmative act of restraining the individual's freedom to act on his own behalf—
                                                                           9   through incarceration, institutionalization, or other similar restraint of personal
                                                                          10   liberty—which is the ‘deprivation of liberty’ triggering the protections of the Due
                                                                          11   Process Clause”) (emphasis added) (citation omitted). For example, Wenzial Jarrell
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   “came to Skid Row after the death of his first wife because he was told he could find
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   housing and services there” (FASC ¶ 116) and Christopher Roper “made his way to
                                                                          14   Skid Row because he knew resources for those experiencing homelessness were
                                                                          15   supposed to be available there.” (FASC ¶ 96(d)). True, no Plaintiff is physically
                                                                          16   behind bars. But they are effectively brought to Skid Row without volition and
                                                                          17   prevented from leaving because there is no other place for them to go. (FASC ¶ 30-
                                                                          18   40; 72-92.) As a result, they are trapped in the area subject to significant danger and
                                                                          19   health hazards. Plaintiffs have, at minimum, alleged sufficient facts for pleading at
                                                                          20   this stage.
                                                                          21          B.     Procedural Due Process
                                                                          22          Plaintiffs have also properly alleged the City has violated procedural due
                                                                          23   process under the Fifth and Fourteenth Amendments by infringing on the interests of
                                                                          24   residents without due process. Under the doctrine of procedural due process,
                                                                          25   Defendants may not interfere with a liberty or property interest without following
                                                                          26   constitutionally sufficient procedures. Ky. Dep’t of Corr. v. Thompson, 490 U.S. 454,
                                                                          27   460 (1989). Such procedures require at a minimum “notice and an opportunity to be
                                                                          28   heard before the Government deprives them of property.” United States v. James
                                                                                                                     11
                                                                                     PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21        Page 19 of 32 Page
                                                                                                                ID #:11232


                                                                           1   Daniel Good Real Prop., 510 U.S. 43, 48 (1993).
                                                                           2         Here, Plaintiffs have properly alleged that for over 40 years, Defendant City
                                                                           3   has repeatedly taken actions which concentrate homeless individuals in unsafe areas,
                                                                           4   particularly in Skid Row. (FASC ¶¶ 30-45.) The City and County were both
                                                                           5   complicit in this policy. (Id.) This policy has been implemented without proper
                                                                           6   procedures for the people affected by it, thus depriving them of their property.
                                                                           7   (FASC ¶¶ 186, 212-213.) For example, Joseph Burk cannot find tenants or otherwise
                                                                           8   use or sell his property due to the dangerous conditions in the Containment area.
                                                                           9   (FASC ¶¶ 100-101.) Used needles and fecal matter fill gutters and accumulate on
                                                                          10   Mark Shinbane’s property. He routinely spends hundreds of thousands of dollars a
                                                                          11   year attempting to keep some semblance of sanitation only for the waste to invariably
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   return. (FASC ¶ 96(k).) Harry Tashdjian has been forced to routinely repair parts of
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   his building which are affected by out-of-control fires, urination and feces, and
                                                                          14   frequent graffiti. (FASC ¶¶ 140-146.) Forcing residents to pay for basic municipal
                                                                          15   services, after depreciating their property values through City and County policy of
                                                                          16   containment, is economically equivalent to exacting a taking upon these residents
                                                                          17   without due process and without just compensation. Even if Plaintiffs’ claims did not
                                                                          18   involve fundamental rights—which they do—the City cannot justify any “rational
                                                                          19   basis” for these policies in light of the clear harm being inflicted on Plaintiffs daily.
                                                                          20         The City argues that a Taking cannot lie based on third party actions, but
                                                                          21   recent Supreme Court authority begs to differ. In Cedar Point Nursery v. Hassid, the
                                                                          22   Supreme Court confirmed that regulatory action by the government which permits
                                                                          23   third party intrusion can be considered a “taking” under the Fifth Amendment. 141 S.
                                                                          24   Ct. 2063, 2080 (2021) (“The access regulation grants labor organizations a right to
                                                                          25   invade the growers’ property. It therefore constitutes a per se physical taking.”).
                                                                          26   While Cedar Point Nursery discussed a physical invasion of property, it also
                                                                          27   reviewed the history of the Court’s recognition of a “regulatory taking” which
                                                                          28   “applies to use restrictions as varied as zoning ordinances, [ ] orders barring the
                                                                                                                    12
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES       Document 379 Filed 12/23/21        Page 20 of 32 Page
                                                                                                               ID #:11233


                                                                           1   mining of gold, [ ] and regulations prohibiting the sale of eagle feathers.” Id. at 2072
                                                                           2   (citations omitted). To determine whether government action which does not
                                                                           3   physically invade the property nonetheless constitutes a taking, courts “balanc[e]
                                                                           4   factors such as the economic impact of the regulation, its interference with reasonable
                                                                           5   investment-backed expectations, and the character of the government action.” Id.
                                                                           6   These are known as the Penn Central factors. Id. at 2076. The question is whether
                                                                           7   the government has “restricted a property owner’s ability to use his own property.”
                                                                           8   Id. at 2072. 2 Here, Plaintiffs have properly alleged significant impact of the
                                                                           9   practices and policies of the City and County,3 substantial interference with
                                                                          10   investment-backed expectations, and unreasonable government action. (FASC,
                                                                          11   passim; see also FASC ¶¶ 97-114.)
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12         C.     Equal Protection
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13                1.     Geographic Discrimination
                                                                          14         Because the City’s arguments mirror the County’s, Plaintiffs incorporate herein
                                                                          15   the arguments set forth in their Opposition to Defendant County of Los Angeles’
                                                                          16   Motion to Dismiss, filed concurrently with this opposition.
                                                                          17         The City, unlike the County, at least attempts to articulate a “rational basis” for
                                                                          18   its geographic discrimination. (City MTD at 9.) Yet nothing in the City’s brief
                                                                          19   explains why particular locations (Skid Row, Venice/405 underpass) were chosen
                                                                          20   over other locations, particularly when those locations are some of the most
                                                                          21   dangerous in America. There is no rational, non-discriminatory purpose for
                                                                          22   corralling the destitute and sick into a 50-square block area (or under a freeway) and
                                                                          23   then effectively abandoning them without the assistance they so desperately need.
                                                                          24
                                                                          25         2
                                                                                       California Inverse Condemnation law evaluates these factors, in addition to
                                                                               permitting “mere damage to property” to constitute a taking. City of Los Angeles v.
                                                                          26   Superior Ct., 194 Cal. App. 4th 210, 220 (2011) (citation omitted).
                                                                          27         3
                                                                                       The City also cites cases which stand for the proposition that frustration of
                                                                               contracts is insufficient to constitute a “taking”. (See City MTD at 15-16.) Plaintiffs
                                                                          28   are not alleging frustration of commercial contracts, but a regulatory taking of
                                                                               property. These cases are inapplicable.
                                                                                                                    13
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21         Page 21 of 32 Page
                                                                                                                ID #:11234


                                                                           1   Keeping homeless people—particularly the most sick, desperate individuals—in one
                                                                           2   geographic area to placate other constituents, is not “rational.”
                                                                           3                2.     Racial Discrimination
                                                                           4         The FASC alleges the City and County, together with other state actors, have
                                                                           5   engaged in discriminatory actions, and set discriminatory policies, which have
                                                                           6   resulted in a disproportionate representation of Black people experiencing
                                                                           7   homelessness. (FASC ¶¶ 41-45, 214.)
                                                                           8         The City argues that Plaintiffs fail to identify a discriminatory policy or
                                                                           9   practice that was enacted “because of” its discriminatory effect. (City MTD at 10
                                                                          10   (emphasis omitted)). But the Supreme Court has historically found laws which were
                                                                          11   “fair on its face” could still constitute violations of the Equal Protection clause where
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   the discrimination is so clear that the only conclusion that could be drawn was that
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   the animating force behind the action was “hostility to the race and nationality to
                                                                          14   which the petitioners belong, and which, in the eye of the law, is not justified.” Yick
                                                                          15   v. Hopkins, 118 U.S. 356, 373-74 (1886); see also Gomillion v. Lightfoot, 364 U.S.
                                                                          16   339, 341 (1960) (City of Tuskegee was liable for redistricting where it redrew the city
                                                                          17   limits from a square into an oddly formed “twenty-eight-sided figure,” the act of
                                                                          18   which was neutral on its face but the effect of which was “to remove from the city all
                                                                          19   save four or five of its 400 Negro voters while not removing a single white voter or
                                                                          20   resident.”); Rogers v. Lodge, 458 U.S. 613, 618 (1982) (“[D]iscriminatory intent need
                                                                          21   not be proved by direct evidence. ‘Necessarily an invidious discriminatory purpose
                                                                          22   may often be inferred from the totality of the relevant facts, including the fact, if it is
                                                                          23   true, that the law bears more heavily on one race than another.’” (citation omitted)).
                                                                          24   The acute overrepresentation of Black people in the homeless community (40
                                                                          25   percent), compared to the population of Los Angeles in general (9 percent),
                                                                          26   undisputed actions of historical discrimination which has caused that
                                                                          27   overrepresentation, and continued affirmative choices to continue a path which the
                                                                          28
                                                                                                                     14
                                                                                     PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21            Page 22 of 32 Page
                                                                                                                ID #:11235


                                                                           1   City knows will continue to cause a disproportionate impact on black people, all
                                                                           2   support Plaintiffs’ claim.
                                                                           3         D.     Municipal Liability
                                                                           4         The City’s arguments concerning municipal liability also echo the County’s,
                                                                           5   and in response, Plaintiffs incorporate Plaintiffs’ Opposition to Defendant County of
                                                                           6   Los Angeles’ Motion to Dismiss. Plaintiffs properly allege all actions were taken by
                                                                           7   City agents pursuant to official “policy, procedure, or customs held by the City and
                                                                           8   County of Los Angeles” (FASC ¶ 224) with “deliberate indifference, and conscious
                                                                           9   and reckless disregard to the safety, security, and constitutional and statutory rights of
                                                                          10   Plaintiff[s].” (Id.) Because Plaintiffs have identified clear constitutional injuries and
                                                                          11   policies of Defendant City which were the moving force behind those injuries,
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   Plaintiffs have exceeded the standard required under Starr v. Baca, 652 F.3d 1202,
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   1216 (9th Cir. 2011). Beyond listing generally the policies and practices,
                                                                          14   identification of the specific actors and specific policies, procedures, or customs
                                                                          15   under Monell are a proper subject for discovery. See Rosales v. County of San Diego,
                                                                          16   511 F. Supp. 3d 1070, 1103-04 (S.D. Cal. Jan. 5, 2021) (denying motion to dismiss
                                                                          17   on basis of allegedly threadbare allegations because at early point in case “listing of
                                                                          18   informal or overarching deficient policies was adequate . . . ‘particularly since
                                                                          19   information relating to the policies, customs, and practices of County Defendants . . .
                                                                          20   is likely to be easily available to them.’”) (citations omitted).
                                                                          21   VI.   PLAINTIFFS HAVE ALLEGED SUFFFICIENT FACTS TO SUPPORT
                                                                          22         THEIR DISABILITY-RELATED CLAIMS 4
                                                                          23         Sidewalks throughout Skid Row and elsewhere in Los Angeles are
                                                                          24
                                                                          25
                                                                                     4
                                                                                       All three disability-related claims—the ADA, Rehabilitation Act, and
                                                                               California Disabled Persons Act—are based on the same conduct and largely involve
                                                                          26   the same analysis. See Cal. Civ. Code § 54(c). The City claims that the CDPA does
                                                                               not apply to the City because Civil Code section 54.3 limits application to “person or
                                                                          27   persons, firm or corporation.” Cal. Civ. Code § 54.3. But section 54.3 deals with
                                                                          28
                                                                                                                     15
                                                                                     PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21         Page 23 of 32 Page
                                                                                                                ID #:11236


                                                                           1   completely blocked and impassible, requiring individuals restricted to wheelchairs
                                                                           2   (including two named plaintiffs) to dangerously traverse the middle of the road.
                                                                           3   (FASC ¶¶ 11, 59, 96(j), 152.) The Americans with Disability Act (ADA) requires
                                                                           4   individuals with disabilities be afforded “the full and equal enjoyment of the goods,
                                                                           5   services, facilities, privileges, advantages, or accommodations of any place of public
                                                                           6   accommodation . . . [.]” 42 U.S.C. § 12182(a). The ADA’s “antidiscrimination
                                                                           7   mandate requires that facilities be ‘readily accessible to and usable by individuals
                                                                           8   with disabilities.’” Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 945 (9th Cir.
                                                                           9   2011) (citation omitted). Title II therefore “requires a public entity to make
                                                                          10   ‘reasonable modifications’ to its ‘policies, practices, or procedures’ when necessary
                                                                          11   to avoid such discrimination.” Fry v. Napoleon Cmty. Schs., 137 S. Ct. 743, 749
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   (2017) (quoting 28 C.F.R. § 35.130(b)(7) (2016)). To satisfy the ADA, public
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   sidewalks must have at least “36 inches . . . minimum” clearance, or passable
                                                                          14   sidewalk. 36 C.F.R. § 1191.1, app. D, § 403.5.1 (2014). The sidewalks in Skid Row
                                                                          15   and surrounding area are not accessible due to the accumulation of personal property
                                                                          16   and piles of hazardous waste as a direct result of the City and County’s actions and
                                                                          17   failures which leave thousands on the street to build their homes on public sidewalks.
                                                                          18   (FASC ¶¶ 57-61.) And the City is responsible for maintain the sidewalks in a manner
                                                                          19   that meets its obligations under the ADA. 36 C.F.R. § 1191, app. D, § 403.5.1 (2014);
                                                                          20   Willits v. City of Los Angeles, 925 F. Supp. 2d 1089, 1093 (C. D. Cal. 2013).
                                                                          21   Defendant City makes a number of arguments in support its motion to dismiss
                                                                          22   Plaintiffs’ disability-related clams; Plaintiffs take each in turn.
                                                                          23         First, Defendant City argues it should not be liable because “the sidewalks are
                                                                          24   equally blocked for all residents.” (City MTD at 17.) This contention defies common
                                                                          25
                                                                               damages liability; Plaintiffs sue only for equitable relief and therefore section 54.3 is
                                                                          26   inapplicable. Additionally, other courts in this district who have evaluated the issue
                                                                               have come to the opposite conclusion. See Lonberg v. City of Riverside, 300 F. Supp.
                                                                          27   2d 942, 946-49 (C.D. Cal. 2004) (reviewing caselaw in detail and concluding
                                                                               “Section 54.3 encompasses liability by public entities, including City.”); Order Den.
                                                                          28   Def.’s Mot. for J. on the Pleadings at 21, Ruben v. City of Los Angeles, Case No. 15-
                                                                               cv-2378 (C.D. Cal. Feb. 24, 2017), ECF No. 56.
                                                                                                                     16
                                                                                     PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21        Page 24 of 32 Page
                                                                                                                ID #:11237


                                                                           1   sense: by analogy, stairs provide “equal access” to all, but the impact and ability to
                                                                           2   use them is far different for individuals who use mobility devices. Plaintiffs properly
                                                                           3   allege that Suarez and Van Scoy are burdened “in a manner different and greater than
                                                                           4   [sidewalk blockages] burden[] others.” Crowder v. Kitagawa, 81 F.3d 1480, 1484
                                                                           5   (9th Cir. 1996). In Crowder, the ninth circuit held that Hawaii’s quarantine
                                                                           6   requirement for animals coming into the state for a period of 120 days was a “policy,
                                                                           7   practice or procedure which discriminates against visually-impaired individuals” even
                                                                           8   though the law technically burdened non-disabled individuals as well. Id. at 1481-82,
                                                                           9   1485. The court noted that congress intended the ADA not only to address “outright
                                                                          10   intentional exclusion” but also some “disparate impact cases of discrimination, for
                                                                          11   [many] barriers to full participation . . . are facially neutral but may work to effectuate
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   discrimination against disabled persons.” Id. at 1483. Likewise, though blocked
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   sidewalks impact everyone, individuals using mobility devices are uniquely burdened
                                                                          14   insofar as they cannot simply step around or walk through the street to the other side
                                                                          15   of the blockage. Instead, they must turn around and go all the way back to the other
                                                                          16   side of the street, unless that is blocked as well (as it is on 5th and San Pedro, where
                                                                          17   Van Scoy lives) in which case they cannot traverse the sidewalk at all but must walk
                                                                          18   in the street at risk of life and limb. And for Suarez, who uses an electric wheelchair,
                                                                          19   this process runs the risk of draining his wheelchair battery and leaving him stranded
                                                                          20   in a dangerous and unhealthy area. The blocked sidewalks pose a unique and
                                                                          21   amplified danger not present to other individuals. See e.g. Cohen v. City of Culver
                                                                          22   City, 754 F.3d 690, 700 (9th Cir. 2014) (“Obstructed sidewalks exclude disabled
                                                                          23   persons from ordinary communal life and force them to risk serious injury to
                                                                          24   undertake daily activities. This is precisely the sort of ‘subtle’ discrimination
                                                                          25   stemming from ‘thoughtlessness and indifference’ that the ADA aims to abolish.”)
                                                                          26   (citation omitted).
                                                                          27         Second, Defendant City cites to Montoya v. City of San Diego, Case No. 19-
                                                                          28   CV-0054, 2021 WL 1056594, at *7 (S.D. Cal. Mar 19, 2021) to support its argument
                                                                                                                    17
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21       Page 25 of 32 Page
                                                                                                                ID #:11238


                                                                           1   that the ADA only applies to fixed “architectural barriers” on sidewalks which does
                                                                           2   not include dwellings. But the Montoya case’s “barriers” were quite literally on
                                                                           3   wheels (“[T]he dockless vehicles are constantly moving objects and their presence in
                                                                           4   one location is not fixed.”), whereas Plaintiffs have alleged the encampments are
                                                                           5   “virtually permanent” including a years-long encampment under the 405 freeway,
                                                                           6   and by explicit agreement in the Mitchell settlement. (FASC ¶ 60.) The
                                                                           7   encampments outside Charles Van Scoy’s home on San Pedro Street are so
                                                                           8   permanent he is unable to use the sidewalks and therefore is effectively trapped in his
                                                                           9   home. (FASC ¶ 152.) These are far different than the scooters on wheels addressed by
                                                                          10   Montoya.5 Moreover, the Montoya court did not find even that the wheeled scooters
                                                                          11   could not be “barriers” only that it “is not obvious . . . whether the dockless vehicles
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   can be considered architectural barriers” in the context of a preliminary injunction.
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   2021 WL 1056594, at *7 (emphasis added).
                                                                          14         Third, the City claims that Plaintiffs either had to allege the sidewalks were
                                                                          15   built before 1992 or that the City’s sidewalks were not passable when “viewed in
                                                                          16   their entirety.” (City MTD at 18-19.) In fact, Plaintiffs were only required to plead
                                                                          17   the sidewalks were “altered” thus triggering 28 C.F.R. § 35.151 as the controlling
                                                                          18   statute. 28 C.F.R. § 35.151(b). 28 C.F.R. § 35.151 does not require the service to be
                                                                          19   “viewed in its entirety.” See Cohen, 754 F.3d at 694-95 (finding the City’s failure to
                                                                          20   regulate a private vendor’s display to ensure that sidewalk ramps were not blocked,
                                                                          21   was more likely to fall under 28 C.F.R. § 35.151 (which regulates “[n]ew
                                                                          22   construction and alterations” and does not have language requiring a service to be
                                                                          23   viewed “in its entirety”) than 28 C.F.R. § 35.150 (which regulates “[e]xisting
                                                                          24   facilities” built before 1992)).
                                                                          25             The City chose to alter the existing arrangement of the public
                                                                                         sidewalk by allowing private vendors to set up displays for the
                                                                          26
                                                                          27         5
                                                                                        The City’s argument that settlement in Willits v. City of Los Angeles prevents
                                                                               Plaintiffs’ claim goes nowhere. Willits did not involve blocked sidewalks, but the
                                                                          28   failure to properly maintain sidewalks and city-placed obstacles thereon. Willits v.
                                                                               City of Los Angeles, 925 F. Supp. 2d 1089, 1091 (C.D. Cal. 2013)
                                                                                                                    18
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21        Page 26 of 32 Page
                                                                                                                ID #:11239

                                                                                       purpose of holding a car show. The vendors' presence was entirely
                                                                           1           unrelated to the goal of making the City's programs or services
                                                                                       accessible to disabled persons. It would not have imposed an
                                                                           2           additional burden on the City for it to require the vendors to locate
                                                                                       their booths a few feet in either direction to avoid blocking disabled
                                                                           3           ramps.
                                                                           4
                                                                               Cohen, 754 F.3d at 699. The City of Los Angeles, like Culver City, has not only
                                                                           5
                                                                               allowed third parties to set up tents and other make-shift shelters thus “alter[ing] the
                                                                           6
                                                                               existing arrangement of the public sidewalk,” it has recently updated nearly all the
                                                                           7
                                                                               sidewalks in the Skid Row area to (ironically) create cutouts for sidewalk access.
                                                                           8
                                                                               (FASC ¶ 60.) The sidewalks have all recently been altered and therefore no
                                                                           9
                                                                               “entirety” requirement is applicable.
                                                                          10
                                                                                     And, even if the “entirety” requirement was applicable, it is irrelevant to
                                                                          11
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                               Plaintiffs allegations which focus on the areas around Skid Row. If the statutory
                                                                          12
                                 1990 SOUTH BUNDY DR., SUITE 705




                                                                               requirement was to look at all 9,000 miles of sidewalk in the entire City, the very
                                     LOS ANGELES. CA 90025




                                                                          13
                                                                               purpose of the ADA statute (to provide equal access to disabled individuals) would
                                                                          14
                                                                               be frustrated. In a place as large as Los Angeles, providing a passable sidewalk
                                                                          15
                                                                               twenty miles away from the disabled person’s place of residence does not affect the
                                                                          16
                                                                               intent of Title II which should be “construe[d] . . . broadly to advance its remedial
                                                                          17
                                                                               purpose.” Cohen, 754 F.3d at 695 (citing Hason v. Med. Bd. of Cal., 279 F.3d 1167,
                                                                          18
                                                                               1172 (9th Cir. 2002)). Rather than looking at 9,000 miles of sidewalk in the
                                                                          19
                                                                               sprawling metropolis of Los Angeles, it is the 25 miles of sidewalk in Skid Row and
                                                                          20
                                                                               nearby that should be evaluated, which are largely blocked and prohibit disabled
                                                                          21
                                                                               individuals from equally accessing the sidewalks.
                                                                          22
                                                                               VII. PLAINTIFFS HAVE ALLEGED SUFFICIENT FACTS TO SUPPORT
                                                                          23
                                                                                     THEIR CLAIMS UNDER CALIFORNIA LAW
                                                                          24
                                                                                     A.     Cal. Civ. Code §§ 3490; 3501
                                                                          25
                                                                                     Defendant City is undoubtedly maintaining a public nuisance by permitting
                                                                          26
                                                                               property under its control—most egregiously in the Skid Row area—to attract and
                                                                          27
                                                                               support severe health and safety threats. California has defined nuisance as
                                                                          28
                                                                               “[a]nything which is injurious to health, including, but not limited to, the illegal sale
                                                                                                                    19
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21        Page 27 of 32 Page
                                                                                                                ID #:11240


                                                                           1   of controlled substances, or is indecent or offensive to the senses, or an obstruction to
                                                                           2   the free use of property, so as to interfere with the comfortable enjoyment of life or
                                                                           3   property, or unlawfully obstructs the free passage or use, in the customary manner, of
                                                                           4   . . . any public park, square, street, or highway.” Cal. Civ. Code § 3479.
                                                                           5         To prevail on a public nuisance claim at this stage, Plaintiffs need only allege
                                                                           6   facts that show (i) the City and County have created a condition that is harmful to
                                                                           7   Plaintiffs, so as to interfere with their comfortable enjoyment of life or property; (ii)
                                                                           8   the condition has affected a substantial number of people at the same time; (iii) an
                                                                           9   ordinary person would be reasonably annoyed or disturbed by the condition; (iv) the
                                                                          10   seriousness of the harm outweighs the social utility of the City or County’s conduct;
                                                                          11   (v) Plaintiffs never consented to this conduct; (vi) Plaintiffs suffered harm that was
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   different from the type of harm suffered by the general public; and (vii) the City and
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   County’s conduct was a substantial factor in causing Plaintiffs’ harm. See Birke v.
                                                                          14   Oakwood Worldwide, 169 Cal. App. 4th 1540, 1548 (2009) (citing Judicial Council
                                                                          15   of California, Civil Jury Instructions, CACI No. 2020 (2008)).
                                                                          16         A nuisance cause of action “is plainly aimed at protecting the public from the
                                                                          17   hazards created by public nuisances.” People v. ConAgra Grocery Prods. Co., 17
                                                                          18   Cal. App. 5th 51, 136 (2017), review denied (Dec. 6, 2017). In addition to health and
                                                                          19   safety hazards, “[a] reduction in property values caused by activities on a . . . piece of
                                                                          20   land, and an assault on the senses by noise, dust, and odors, are just the kinds of harm
                                                                          21   that commonlaw suits to abate a nuisance are designed to redress.” Solid Waste
                                                                          22   Agency of N. Cook Cnty. v. U.S. Army Corps of Eng’rs, 101 F.3d 503, 505 (7th Cir.
                                                                          23   1996). A public nuisance is the substantial and unreasonable interference with a
                                                                          24   public right. San Diego Gas & Elec. Co. v. Superior Ct., 13 Cal. 4th 893, 938-39
                                                                          25
                                                                          26
                                                                          27
                                                                          28
                                                                                                                    20
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21       Page 28 of 32 Page
                                                                                                                ID #:11241


                                                                           1   (1996). The City’s actions have led to the buildup of encampments. And the City,
                                                                           2   which has the obligation to keep its sidewalks passable,6 is failing to do so.
                                                                           3         First, these encampments are obviously harmful to health and indecent and
                                                                           4   offensive to the senses of both the housed and unhoused Plaintiffs and members of
                                                                           5   the Alliance, are interfering with their comfortable enjoyment of life or property, and
                                                                           6   are obstructing the free passage of public sidewalks, and are a fire hazard to
                                                                           7   Plaintiffs’ personal and real property. (FASC ¶¶ 96-155.) “A property owner who
                                                                           8   fails to take reasonable actions to prevent criminal activity on the owner’s property
                                                                           9   may be subject to nuisance liability if that criminal activity harms the surrounding
                                                                          10   community.” Benetatos v. City of Los Angeles, 235 Cal. App. 4th 1270, 1282-83
                                                                          11   (2015); see also Restatement (Second) of Torts § 838 (1979) (“A possessor of land
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   upon which a third person carries on an activity that causes a nuisance is subject to
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   liability for the nuisance if it is otherwise actionable, and (a) the possessor knows or
                                                                          14   has reason to know that the activity is being carried on and that it is causing or will
                                                                          15   involve an unreasonable risk of causing the nuisance, and (b) he consents to the
                                                                          16   activity or fails to exercise reasonable care to prevent the nuisance.”) (emphasis
                                                                          17   added).
                                                                          18         Further the situation on the streets is impacting a substantial number of people
                                                                          19   (FASC ¶ 70), any ordinary person would be reasonably annoyed or disturbed by the
                                                                          20
                                                                                     6
                                                                                       The City itself recognized it has an obligation to keep sidewalks clear for
                                                                          21   public use in its Motion to Dismiss filed in the ongoing litigation in Garcia v. City of
                                                                               Los Angeles:
                                                                          22
                                                                                         As courts have long recognized, “[t]he public is entitled to the free
                                                                          23             and unobstructed use of the entire streets and sidewalks . . . ”
                                                                                         Vanderhurst v. Tholcke, 113 Cal. 147, 152 (1896). To balance
                                                                          24             among the many, often competing uses, cities have been designated
                                                                                         as trustees of these public spaces. In this capacity, they have not
                                                                          25             only the power but “the duty to keep their communities’ streets open
                                                                                         and available for movement of people and property.” Schneider v.
                                                                          26             State, 308 U.S. 147, 160-61 (1939) (emphasis added); see also Smith
                                                                                         v. Corp. of Wash., 61 U.S. (20 How.) 135, 146 (1858).
                                                                          27
                                                                               (Def. City of Los Angeles’ Mot. to Dismiss Suppl. Compl. at 2, Garcia v.
                                                                          28   City of Los Angeles, Case No. 19-cv-6182 (C.D. Cal. Oct. 21, 2019), ECF
                                                                               No. 22.)
                                                                                                                    21
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21        Page 29 of 32 Page
                                                                                                                ID #:11242


                                                                           1   conditions (FASC, passim), there is zero utility gained from abandoning people on
                                                                           2   the streets to provide their own makeshift shelters which block sidewalks and risk
                                                                           3   lives, and Plaintiffs never consented to such conditions. (FASC ¶ 180.)
                                                                           4         To the sixth element, Plaintiffs’ harm resulting from encampments “is
                                                                           5   normally different in kind from that suffered by other members of the public.” Birke,
                                                                           6   169 Cal. App. 4th at 1550 (citing Restatement (Second) of Torts § 821C, com. d, p.
                                                                           7   96 (1979)). Plaintiffs have suffered increased health risks (FASC ¶¶ 52-56), a
                                                                           8   reduction in property value (FASC ¶¶ 97-109), increased insurance costs due to the
                                                                           9   fire risks associated with encampments (Id.; FASC ¶ 96(m)), and significant health
                                                                          10   and safety risks of being unhoused subject to encampments. (FASC, passim.)
                                                                          11   Additionally, the property owner plaintiffs need not show special injury where their
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   property is also impacted. Birke, 169 Cal. App. 4th at 1551 (“[W]ith respect to the
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   special injury requirement . . . when the nuisance is a private as well as a public one,
                                                                          14   there is no requirement the plaintiff suffer damage different in kind from that suffered
                                                                          15   by the general public. [ ] That is, the plaintiff ‘does not lose his rights as a landowner
                                                                          16   merely because others suffer damage of the same kind, or even of the same degree.’”)
                                                                          17   (citations omitted).
                                                                          18         Finally, the seventh element – whether the City and County’s conduct was a
                                                                          19   substantial factor in causing the harm – is well-documented and acknowledged by
                                                                          20   Defendants themselves. Moreover, the “substantial factor” test for nuisance may be
                                                                          21   met by a failure to act when the defendant has a duty to take a positive action to
                                                                          22   prevent or abate the interference. See Birke, Cal. App. 4th at 1552-53 (finding that as
                                                                          23   the plaintiff’s landlord, defendant had a duty to maintain its premises in a reasonably
                                                                          24   safe condition and failure to do so was a nuisance). Here, putting aside their
                                                                          25   intentional conduct through the Containment Policy, the City and County had “a duty
                                                                          26   to keep their communities’ streets open and available for movement of people and
                                                                          27   property, the primary purpose to which the streets are dedicated.” Schneider v. State,
                                                                          28   308 U.S. 147, 160-61 (1939).
                                                                                                                    22
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES       Document 379 Filed 12/23/21       Page 30 of 32 Page
                                                                                                               ID #:11243


                                                                           1         To establish a private nuisance, Plaintiffs must show the following three
                                                                           2   elements in addition to those of a public nuisance: (1) Plaintiffs owned, leased,
                                                                           3   occupied or controlled real property; (2) that defendants’ conduct interfered with
                                                                           4   Plaintiffs’ use of their property; and that (3) Plaintiffs were harmed. See Dep’t of
                                                                           5   Fish & Game v. Superior Ct., 197 Cal. App. 4th 1323, 1352 (citing Judicial Council
                                                                           6   of California, Civil Jury Instructions, CACI No. 2021 (2011)). All three additional
                                                                           7   elements are easily met. Several Plaintiffs own property in the impacted areas, the
                                                                           8   Containment Policy interfered with their use of property, and they suffered harm.
                                                                           9   (FASC ¶¶ 96-114.)
                                                                          10         B.     Negligence
                                                                          11         Defendants argue that “[t]ort liability against a municipality cannot arise out of
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   common law” which is true and also immaterial because Plaintiffs do not allege
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   direct negligence against the City of Los Angeles, but instead base their claim for
                                                                          14   negligence only on a theory of respondeat superior. (City MTD at 20.) See Cal.
                                                                          15   Gov’t Code § 815.2(a) (“A public entity is liable for injury proximately caused by an
                                                                          16   act or omission of an employee of the public entity within the scope of his
                                                                          17   employment if the act or omission would, apart from this section, have given rise to
                                                                          18   the cause of action against that employee or his personal representative.”).
                                                                          19   Defendants’ second argument, that discretionary immunity prevents negligence
                                                                          20   claims, is also immaterial because statutory immunity is inapplicable to claims for
                                                                          21   equitable relief only. See VII(D), infra.
                                                                          22         C.     Taxpayer Waste Claim (CCP Section 526a)
                                                                          23         The City has wasted valuable funds that were directed, by the voters through
                                                                          24   Proposition HHH, to be spent to alleviate the homeless crisis. Instead of using the
                                                                          25   money in a way that would actually achieve the ostensible goal of ending
                                                                          26   homelessness, the City is spending its funds exclusively on PSH projects that take far
                                                                          27   too long to build and leave too many on the streets to get sicker; many of whom
                                                                          28   ultimately perish.
                                                                                                                    23
                                                                                    PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21         Page 31 of 32 Page
                                                                                                                ID #:11244


                                                                           1         Plaintiffs through the FASC have alleged direct financial injuries that affords
                                                                           2   them Article III standing. (FASC ¶¶ 96-114.).
                                                                           3         Contrary to the City’s claim, Plaintiffs need not demonstrate an expenditure is
                                                                           4   “illegal” to constitute a claim under section 526a; “waste” may also be shown where
                                                                           5   the government conduct is:
                                                                           6               “[A] useless expenditure of public funds” that is incapable of
                                                                                          achieving the ostensible goal. [ ] Certainly it reaches outright
                                                                           7              fraud, corruption, or collusion. [ ] Even when “done in the exercise
                                                                                          of a lawful power,” public spending may qualify as waste if it is
                                                                           8              “completely unnecessary” or “useless” or “provides no public
                                                                                          benefit.” [ ] Waste is money that is squandered, or money that is
                                                                           9              left uncollected, and thus is a constitutionally prohibited gift of
                                                                                          public resources. [ ] Waste can exist even when there is no net loss,
                                                                          10              as when “illegal procedures actually permit a saving of tax funds.”
                                                                          11   Chiatello v. City & County of San Francisco, 189 Cal. App. 4th 472, 482 (2010)
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   (citations omitted), review denied (Jan. 26, 2011). For example, in Los Altos
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   Property Owners Ass’n v. Hutcheon, plaintiffs’ allegations were sufficient to support
                                                                          14   a finding of waste under section 526a where they alleged defendant school district
                                                                          15   “will be expending public funds on a consolidation plan that costs a great deal more
                                                                          16   than alternative plans considered, without a finding of any additional public benefit.”
                                                                          17   69 Cal. App. 3d 22, 30 (1977). Similarly in Harnett v. Sacramento County, the
                                                                          18   California Supreme Court found that holding an election which could not achieve the
                                                                          19   stated goal would be a “useless expenditure and waste of public funds.” 195 Cal.
                                                                          20   676, 682-83 (1925). Likewise, Plaintiffs have properly alleged that taxpayer funds
                                                                          21   have been misused in a way that makes it impossible for Proposition HHH to achieve
                                                                          22   the ostensible goal for which it was passed. (FASC ¶ 190.)
                                                                          23         D.      Statutory Immunity is Inapplicable to Claims for Equitable and
                                                                          24                 Injunctive Relief
                                                                          25         California Government Code section 814, which governs all claims for
                                                                          26   immunities under Title 1, Division 3.6, Part 2, Chapter 1 (inclusive of Government
                                                                          27   Code sections 815.2, 818.2, and 820.2, cited by Defendant City), states: “Nothing in
                                                                          28   this part affects liability based on contract or the right to obtain relief other than
                                                                                                                     24
                                                                                     PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
                                                                          Case 2:20-cv-02291-DOC-KES        Document 379 Filed 12/23/21         Page 32 of 32 Page
                                                                                                                ID #:11245


                                                                           1   money or damages against a public entity or public employee.” Cal. Gov’t Code §
                                                                           2   814 (emphasis added); see also Cal. Gov’t Code § 814, Legislative Committee
                                                                           3   Comments—Senate (“The various provisions of this part determine only whether a
                                                                           4   public entity or public employee is liable for money or damages . . . . This section
                                                                           5   also declares that the provision of this statute relating to liability of public entities and
                                                                           6   public employees have no effect upon whatever right a person may have to obtain
                                                                           7   relief other than money or damages.”) (emphasis added.); Schooler v. State, 85 Cal.
                                                                           8   App. 4th 1004, 1013 (2000) (“[U]nder section 814, Government Code immunities
                                                                           9   extend only to tort actions that seek money damages.”).
                                                                          10         Plaintiffs seek only equitable and injunctive relief for their California Tort
                                                                          11   causes of action (see Prayer for Relief No. 2 (“As to the federal claims and claims
                         TELEPHONE 310-826-4700; FACSIMILE 310-826-4711
Spertus, Landes & Umhofer, LLP




                                                                          12   under the California constitution only, compensatory damages and other special,
                                 1990 SOUTH BUNDY DR., SUITE 705
                                     LOS ANGELES. CA 90025




                                                                          13   general and consequential damages according to proof.”), and therefore statutory
                                                                          14   immunities do not apply.
                                                                          15   VIII. CONCLUSION
                                                                          16         For the foregoing reasons, and for those set forth in the concurrently filed
                                                                          17   Opposition to Defendant County of Los Angeles’ Motion to Dismiss, Plaintiffs
                                                                          18   respectfully request the Court DENY Defendant City of Los Angeles’ Motion to
                                                                          19   Dismiss in its entirety. Alternatively, if the Court is inclined to grant Defendant’s
                                                                          20   Motion to Dismiss, Plaintiffs request the opportunity to amend the complaint to
                                                                          21   overcome any legal insufficiencies the Court may identify.
                                                                          22
                                                                          23   Dated: December 23, 2021                       /s/ Elizabeth A. Mitchell
                                                                                                                             SPERTUS, LANDES & UMHOFER, LLP
                                                                          24                                                 Matthew Donald Umhofer (SBN 206607)
                                                                                                                             Elizabeth A. Mitchell (SBN 251139)
                                                                          25
                                                                                                                             Attorneys for Plaintiffs
                                                                          26
                                                                          27
                                                                          28
                                                                                                                     25
                                                                                     PLAINTIFFS’ OPPOSITION TO CITY OF LOS ANGELES’ MOTION TO DISMISS
